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                           UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF PENNSYLVANIA

                                                 )
 JOHN GIDDIENS,                                  )
 on behalf of himself and all others             )
 similarly situated                              )     C.A. No. 13-cv-7115-LDD
                                                 )
                       Plaintiff,                )
 v.                                              )
                                                 )     CLASS ACTION
 INFINITY STAFFING SOLUTIONS and                 )
 LYNEER STAFFING SOLUTIONS                       )
                                                 )
                       Defendant.                )
                                                 )


        MOTION FOR FINAL APPROVAL OF CLASS ACTION SETTLEMENT

       For the reasons set forth in the accompanying Memorandum of Law, John Giddiens hereby

seeks final approval of the class action settlement preliminarily approved by this Court by Order

dated August 31, 2015. Dkt. No. 28.

                                             Respectfully submitted,

                                             FRANCIS & MAILMAN, P.C.
Dated: January 4, 2016                 BY:   /s/ James A. Francis
                                             JAMES A. FRANCIS
                                             DAVID A. SEARLES
                                             LAUREN KW BRENNAN
                                             Land Title Building, Suite 1902
                                             100 South Broad Street
                                             Philadelphia, PA 19110
                                             (215) 735-8600
                                             Attorneys for Plaintiff and Proposed Class
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                        UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF PENNSYLVANIA

                                      )
JOHN GIDDIENS,                        )
on behalf of himself and all others   )
similarly situated                    )    C.A. No. 13-cv-7115-LDD
                                      )
                     Plaintiff,       )
v.                                    )
                                      )    CLASS ACTION
INFINITY STAFFING SOLUTIONS and       )
LYNEER STAFFING SOLUTIONS             )
                                      )
                     Defendant.       )
                                      )



             MEMORANDUM OF LAW IN SUPPORT OF MOTION FOR
              FINAL APPROVAL OF CLASS ACTION SETTLEMENT
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                                      I.   INTRODUCTION

       Plaintiff John Giddiens (“Representative Plaintiff”), by the undersigned counsel,

respectfully submits this Memorandum of Law in support of his Motion for Final Approval of the

proposed settlement of his claims brought under the Fair Credit Reporting Act, 15 U.S.C. §§ 1681

et seq. (“FCRA”) against Defendant Infinity Staffing Solutions, LLC d/b/a Lyneer Staffing

Solutions (“Defendant” or “Infinity”). The terms of the settlement are set forth in the Settlement

Agreement submitted on August 21, 2015. Dkt. No. 27-2).1 As discussed herein, the proposed

settlement provides comprehensive equitable and compensatory relief for the Settlement Classes

and meets all of the standards for settlement approval under Rule 23(e). It should, therefore, be

granted final approval as fair, reasonable and adequate as to all Class members.

       The settlement represents an excellent resolution for numerous reasons.          First, in a

consumer class action brought under the FCRA, which is remedial in nature, the settlement assures

practice changes by Defendant Infinity that will benefit consumers in the future. Directly as a

result of the lawsuit, Defendant has corrected the conduct that gave rise to the underlying action;

namely, it has changed its procedures for obtaining authorization from consumers to procure

consumer reports about applicants for employment, and its procedures for notifying consumers

about the results of those reports.

       Second, the settlement provides material benefits to the Settlement Class members through

the payment of guaranteed compensatory damages without the need to submit a claim form.

B(b)(3) Class members, who had negative background check results returned to Infinity and were

never subsequently placed for employment, will each receive $1,000. This represents 100% of the




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        Plaintiff has simultaneously moved for an award of attorneys’ fees and costs pursuant to
the Settlement Agreement.


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statutory damages to which they would be entitled if Plaintiff were entirely successful at trial,

without proof of any actual injury. B(b)(2) Class members, who signed an authorization form

allowing Infinity to obtain a background check which contained a waiver and other extraneous

language, will each automatically receive $110, without the need to show that they were harmed.

       Third, the stage of the proceedings demonstrates the fairness and non-collusive nature of

the settlement.

       Settlement was only reached after eighteen months of litigation and a detailed mediation

under the auspices of the Hon. Joel B. Rosen (Ret.). There can be no question that negotiations

were conducted in an arms-length manner.

       For these reasons, and those set forth in greater detail below, the settlement is fair,

reasonable and adequate to the Settlement Class and satisfies all of the criteria that courts routinely

apply for the approval of class action settlements. See, e.g., In Re Prudential Ins. Co. of Am. Sales

Litig., 148 F.3d 283 (3d Cir. 1998); Girsh v. Jepson, 521 F.2d 153 (3d Cir. 1975).

                  II.     NATURE AND HISTORY OF THE LITIGATION

       This is a consumer class action brought under the FCRA against Defendant Infinity, a user

of consumer reports for employment purposes. Plaintiff’s Complaint asserts two violations of the

FCRA. First, Plaintiff asserts that Defendant willfully violated section 1681b(b)(2) of the FCRA

through its practice of requiring all applicants for employment to sign a uniform “Authorization

and Release Form,” allowing Defendant to obtain a consumer report for employment purposes,

which did not consist “solely” of the authorization as required by the FCRA. Second, Plaintiff

asserts that Defendant willfully failed to provide the applicants who were the subjects of these

reports with notice and copy of the report before taking adverse action against them as required in

section 1681b(b)(3) of the FCRA. Since the filing of this case, Defendant has begun using a




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different authorization form, and now provides notice and a copy of the consumer report at issue

to consumers when negative results are returned. Defendant, however, has consistently denied

that it violated the FCRA.

A.     Procedural History

       Mr. Giddiens filed this action in the United States District Court for the Eastern District of

Pennsylvania, captioned Giddiens v. Infinity Staffing Solutions, Inc. and Lyneer Staffing Solutions.,

C.A. No. 12-2624, on December 6, 2013. Dkt. No. 1. On March 17, 2014, Defendant filed a

Motion to Dismiss Count I of the Complaint, which contained Plaintiff’s allegations of a willful

violation of section 1681b(b)(2). Dkt. No. 4. Plaintiff filed an Amended Class Action Complaint

on April 2, 2014 (Dkt. No. 6), and Defendant filed its Answer on May 16, 2015. Dkt. No. 10.

B.     Written Discovery and Depositions

       The parties embarked upon discovery, including the exchange of interrogatories and

responses, and the production of documents. The parties and relevant third parties also agreed to

cross-production of the discovery materials produced during the related case of Giddiens v. First

Advantage LNS Screening Solutions, Inc., C.A. No. 12-2624 (E.D. Pa.), including thousands of

pages of documents and the transcripts of seven depositions of representatives of the consumer

reporting agency that produced the consumer report about Plaintiff. The material from the related

case also included a production of materials from Infinity related to Plaintiff’s application for

employment, and the transcript of the deposition of Infinity’s president regarding Infinity’s

practices for obtaining consent to procure background reports and practices for notifying

applicants regarding the results of those reports.




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C.     Settlement Negotiations and Mediation

       On February 25, 2015, the parties conducted an arms-length, contentious, lengthy, and

complicated in-person mediation session with the Honorable Judge Joel B. Rosen (Ret.). The

parties were unable to reach an agreement during this mediation session, and continued to pursue

discovery.

       The parties then conducted additional productive good-faith settlement discussions in May

and June 2015, with the continued assistance of Judge Rosen, and agreed to modify the existing

scheduling order to continue these discussions. Dkt. Nos. 22, 23. In June 2015, the parties were

able to arrive at a proposed settlement which they believe is fair, reasonable and adequate – and

which avoids the ongoing expense and uncertainties of further litigation, trial and possible appeal.

See Dkt. No. 27-2, Settlement Agreement attached as Appendix I to Plaintiff’s Motion for

Preliminary Approval of Class Action Settlement. It took the parties an additional several weeks

to negotiate the terms of the proposed notice to the settlement classes and preliminary and final

proposed orders, and to reduce all of the terms of the settlement to writing.

                         III.   SUMMARY OF THE SETTLEMENT

       The parties have agreed, subject to this Court’s approval, to a settlement of this litigation

on a class-wide basis. The terms of the settlement are set out in the Settlement Agreement filed

on August 21, 2015. Dkt. No. 27-2. The settlement is fair, reasonable and sound in light of the

relevant facts, the applicable law, and the economic, as well as non-economic, value of the

settlement to the Classes.

A.     The Settlement Classes

       The two classes of consumers covered by the settlement are defined as follows:

       B(b)(2) Class: All natural persons residing within the United States and its
       territories regarding whom, beginning two years prior to the filing of the Complaint



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        and continuing through the conclusion of this action, for whom Infinity procured
        or caused to be procured a consumer report for employment purposes using a
        written disclosure containing language substantially in the form of the
        Authorization for Release of Information form provided to Plaintiff Giddiens,
        described in and attached to the Amended Complaint.

        B(b)(3) Class: All persons residing in the United States and its territories who (i)
        within two years prior to the filing of the Complaint and continuing through the
        conclusion of this action; (ii) applied for employment with Infinity; (iii) were the
        subject of a consumer report used by Infinity for employment purposes; (iv) were
        the subject of an adverse employment action by Infinity; and (v) were not provided
        with a copy of the report and/or a written summary of their rights under the FCRA
        prior to the adverse action.

Id. at subsection 3.1.1.

B.      Settlement Benefits

        1.     Monetary Compensation

        The Settlement Agreement provides for each class member who takes no action upon

receiving the notice of the Settlement to receive a cash payment, without the need to file a claim

form.   Members of the B(b)(2) Class, who signed Infinity’s Authorization for Release of

Information Form, will receive automatic payments of $110. Dkt. No. 27-2 at subsection 5.1.1.

Members of the B(b)(3) Class, who did not receive copies of consumer reports obtained for

employment purposes and who were never placed for employment, will receive automatic

payments of $1,000. Id. at subsection 5.1.2.

        To the extent that any funds remain after funding of costs of notice and administration the

automatic payments, a court-approved service award to the Representative Plaintiff, and attorneys’

fees and costs approved by the Court, such funds will be distributed to the Philadelphia

Unemployment Project, the cy pres recipient designated by the parties and approved by the Court.

Id. at subsection 5.6.




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       2.      Costs of Notice

       All costs of notice relating to the settlement and all necessary and reasonable costs of

administering the disbursement of consideration, and other administrative expenses including, but

not limited to, postage charges, printing costs, a telephone assistance program, and all other notice

costs and other charges as may be approved by the parties will be paid out of the Settlement Fund.

Dkt. No. 27-2 at subsections 3.3.6, 5.3, and 5.5.

       3.      Service Award for Representative Plaintiff

       Subject to court approval, the parties have agreed that the Representative Plaintiff will be

paid the sum of $5,000 by the Defendant, and to which the Defendant will not object, for his

individual settlement award and his services in connection with representing the Classes. Dkt. No.

27-2 at Art. 5.2.1.

       4.      Attorneys’ Fees and Costs

       Subject to court approval, Infinity has agreed to pay, and agrees not to object or engender

objection to, the sum of $276,390 for the combined attorneys’ fees and costs incurred by Class

Counsel in the prosecution of the litigation. Dkt. No. 27-2 at subsection 5.2.2. The amount of

attorneys’ fees and expenses to be paid to Class Counsel was not agreed to by the parties until

agreement was reached in principle on the other terms of this Settlement Agreement. Plaintiff has

contemporaneously filed his Motion for Attorneys’ Fees and Reimbursement of Expenses detailing

the fees and costs in this matter.

       5.      Class Notice

       The settlement provides for a mutually agreed-upon Settlement Administrator, First Class,

Inc. (“First Class”), to perform settlement administration responsibilities. Dkt. No. 27-2 at

subsection 3.3.1; Preliminary Approval Order, Dkt. No. 28.




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           Pursuant to that agreement, First Class mailed notice to 4,296 members of the Classes after

removing duplicate records and a single record which was missing a street address.                See

Declaration of Bailey Hughes of First Class, Inc. Regarding Settlement Notice Program (“Hughes

Decl.”), Dkt. No. 32 at ¶¶ 7-8. Undeliverable notices totaled 1,119, and 59 notices were forwarded

or re-mailed to a new address. Id. at ¶¶ 11-12.

           First Class established and maintained a website dedicated to the settlement,

www.InfinityClassAction.com.         Id. at ¶ 3.   The website listed the exclusion and objection

deadlines, as well as the date, time and location of the Court’s Fairness Hearing. Id. Copies of the

Class Notices, the Settlement Agreement, and the Amended Complaint were posted on the website

so that they could be downloaded by members of the Classes. Id. The settlement website went

live on September 3, 2015, and is accessible 24 hours a day, 7 days a week. Id.

           First Class also established and maintained a toll-free telephone number for class members

to call to receive information about the settlement, and leave a message to have their call returned

if needed. Id. at ¶ 4. The toll-free number remains live. Id.

           As of December 29, 2015, First Class received two objections to the settlement from

members of the B(b)(2) Class, one of which was subsequently withdrawn in writing. Hughes Decl.

at ¶ 13. As of the same date, First Class received no requests for exclusion from either Class. Id.

at ¶ 14.

           IV.     ELEMENTS FOR CERTIFICATION OF A SETTLEMENT CLASS

           When the Court preliminarily approved this settlement, it considered whether the

settlement class could be conditionally certified for settlement purposes. See Amchem Products,

Inc. v. Windsor, 521 U.S. 591, 620 (1997) (trial court may disregard management issues in

certifying a settlement class, but the proposed class must still satisfy the other requirements of




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Rule 23). As final approval of the settlement also involves the determination that certification of

the Settlement Classes is appropriate, the analysis applies again at this juncture.

        Rule 23 of the Federal Rules of Civil Procedure governs the certification of class actions.

One or more members of a class may sue as representative parties on behalf of a class if: (1) the

class is so numerous that joinder of all members is impracticable; (2) there are questions of law or

fact common to the class; (3) the claims or defenses of the representative parties are typical of the

claims or defenses of the class; and (4) the representative parties will fairly and adequately protect

the interests of the class. In support of his contention that proper and sufficient grounds for class

certification exist under Rule 23, Plaintiff would show the following:

A.      Numerosity

        Here, the Parties have determined through discovery that the B(b)(2) Class consists of

4,373 consumers, and the B(b)(3) Class consists of 68 consumers. These class sizes are certainly

sufficient to establish that joinder is impracticable.

B.      Commonality

        With respect to the B(b)(2) Class, the main question is whether Defendant, by employing

a policy and practice of requiring all candidates for placement for employment to sign a uniform

Authorization and Release Form containing extraneous language including a waiver of liability,

willfully and negligently violated section 1681b(b)(2) of the FCRA, which requires users of

consumer reports for employment purposes to obtain consent using a document consisting “solely”

of the disclosure that a consumer report will be obtained. With respect to the B(b)(3) Class, the

main question is whether Defendant willfully and negligently violated section 1681b(b)(3) of the

FCRA by uniformly failing to provide job applicants who were the subjects of consumer reports

containing adverse information with notice and a copy of the relevant report prior to taking adverse



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action against them.

       Cases presenting standardized consumer reporting practices invariably present common

predominating issues. As Judge Brody held in a similar case, “the factual and legal basis of the

claim is common to all Plaintiffs; Plaintiffs allege that the standard reinvestigation letter that

Equifax sent to prospective class members in response to a dispute over public record information

contains misstatements and misrepresentations in violation of the FCRA. Thus, Rule 23(a)(2) is

satisfied.” Chakejian v. Equifax Information Services, LLC, 275 F.R.D. 201, 209 (E.D. Pa. 2011).

       Where, as here, a defendant engaged in standardized conduct toward putative class

members, commonality is satisfied.        In re Prudential, 148 F.3d at 310. See also Perry v.

FleetBoston Financial Corp., 229 F.R.D. 105 (E.D. Pa. 2005) (finding Rule 23 requirements met

in consumer class action and noting cases routinely certified where ‘defendants have engaged in

standardized conduct towards members of the proposed class by mailing to them allegedly illegal

form letters or documents.’”

C.     Typicality

       This requirement is “designed to align the interests of the class and the class representatives

so that the latter will work to benefit the entire class through the pursuit of their own goals.” In re

Prudential, 148 F.3d at 311. The threshold for establishing typicality is low. Typicality does not

require that the claims of the class members be identical. Eisenberg v. Gagnon, 766 F.2d at 786.

Rather, a plaintiff’s claims are typical when the nature of the plaintiff’s claims, judged from both

a factual and a legal perspective, are such that in litigating his personal claims he can reasonably

be expected to advance the interests of absent class members. See, e.g., General Telephone Co. of

the Southwest v. Falcon, 457 U.S. 147, 156-157 (1982); see also H. Newberg & A. Conte,

NEWBERG ON CLASS ACTIONS (4th ed. 2002) at § 3.13.




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        The Representative Plaintiff is a member of the both Settlement Classes, has the same

interest in resolution of the issues as all other members of each Class and his claims are typical of

all members of each Class. Plaintiff was affected by the Defendant’s practices in the same manner

as all members of the Classes. See Hassine v. Jeffes, 846 F.2d 169, 177 (3d Cir. 1998). In other

words, the Representative Plaintiff’s claims are typical and aligned with the interests of the rest of

the members of the Settlement Classes.

D.      Adequacy of Representation

        A representative plaintiff must be able to provide fair and adequate protection for the

interests of the class. That protection involves two factors: (a) the representative plaintiff’s

attorney must be qualified, experienced, and generally able to conduct the proposed litigation; and

(b) the representative plaintiff must not have interests antagonistic to those of the class. See, e.g.,

In re Prudential, 148 F.3d at 312; Lewis v. Curtis, 671 F.2d 779, 788 (3d Cir. 1982).

        Mr. Giddiens, the Representative Plaintiff, has no interests antagonistic to the Settlement

Classes and has fairly and adequately represented the interests of the Settlement Classes. Mr.

Giddiens was found by this Court to be an adequate class representative in the related case of

Giddiens v. LexisNexis Risk Solutions, Inc., C.A. No. 12-2624 (E.D. Pa. Jan. 20, 2015) (Doc. 55,

¶ 5).

        Plaintiff’s attorneys have substantial experience in class action and consumer litigation and

are qualified to conduct the litigation.2



2
       See, e.g., Magallon v. Robert Half Int’l, Inc., ____ F.R.D. ___, 2015 WL 877898, at *10
(D. Or. Nov. 10, 2015) (opinion and order certifying class on contest); Patel v. Trans Union, LLC,
308 F.R.D. 292, 307 (N.D. Cal. 2015); Ramirez v. Trans Union, LLC, 301 F.R.D. 408 (N.D. Cal.
2014); Berry v. LexisNexis Risk & Info. Analytics Grp., Inc., No. 3:11-c-v754, 2014 WL 4403524,
at *11 (E.D. Va. Sept. 5, 2014) (finally approving class settlement, including appointment of class
counsel, over objections) aff’d sub nom Berry v. Schulman ___ F.3d ___, 2015 WL 7888729, at



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E.     Rule 23(b)(3) Considerations

       The proposed settlement contemplates a class certification permitting opt-outs pursuant to

Rule 23(b)(3). An action may be maintained as a class action if the four elements described above

are satisfied, and in addition, certain other conditions under Rule 23(b)(3) are met:

       (3)     the Court finds that the questions of law or fact common to the members of
               the Class predominate over any questions affecting only individual
               members, and that a Class action is superior to other available methods for
               the fair and efficient adjudication of the controversy.

Fed. R. Civ. P. 23(b)(3).

       The requirement that the questions of law or fact common to all members of the Class

predominate over questions pertaining to individual members is normally satisfied where plaintiffs

have alleged a common course of conduct on the part of the defendant. In re Prudential, 148 F.3d

at 314-315.

       Plaintiff has alleged such a common course of conduct by Infinity. Plaintiff alleges on

behalf of the B(b)(2) Class that Defendant failed to comply with section 1681b(b)(2) of the FCRA

by using a form authorization for consent to obtain consumer reports for employment purposes

that did not consist solely of the disclosure, and instead included extraneous language, including




*9-10 (4th Cir. Dec. 4, 2015); King v. Gen. Info. Servs., Inc., No. 2:10-cv-6850 (E.D. Pa. Feb.
20, 2013) (Dkt. No. 74, Order appointing interim class counsel); LaRocque v. TRS Recovery
Services, Inc., 2012 WL 291191 (D. Me. July 17, 2012); Serrano v. Sterling Testing Systems, Inc.
711 F. Supp. 2d 402 (E.D. Pa. 2010); Summerfield v. Equifax Information Services, LCC, 264
F.R.D. 133 (D. N.J. 2009); Chakejian v. Equifax Information Services, LLC, 256 F.R.D. 492 (E.D.
Pa. 2009); Marino v. UDR, 2006 WL 1687026, C.A. No. 05-2268 (E.D. Pa. June 14, 2006);
Seawell v. Universal Fidelity Corp, 235 F.R.D. 64 (E.D. Pa. 2006); Perry v. FleetBoston Financial
Corp., 229 F.R.D.105 (E.D. Pa. 2005); Wisneski v. Nationwide Collections, Inc., 227 F.R.D. 259
(E.D. Pa. 2004). See also White v. Experian Info. Solutions, No. 05-01070, 2014 WL 1716154, at
*13, 19, 22 (C.D. Cal. May 1, 2014) (finding Francis & Mailman “FCRA specialists” and
appointing firm and its team as interim class counsel over objections from competing group
because their team’s “credentials and experience [we]re significantly stronger in class action and
FCRA litigation.”).


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an impermissible waiver of liability. On behalf of the B(b)(3) Class, Plaintiff alleges that

Defendant failed to comply with section 1681b(b)(3) of the FCRA by taking adverse action

against applicants based in whole or in part on information in consumer reports, without first

providing them with notice and a copy of the relevant report. The internal policies and procedures

that Defendant followed in obtaining consent to run backgrounds checks on prospective

employees and notifying them about the results of such backgrounds checks – factual issues

central to Plaintiff’s claims – are generally common to all members of the Settlement Classes.

       In addition, Plaintiff alleges on behalf of both Settlement Classes that Defendant’s alleged

failures to comply with the FCRA were “willful,” i.e., that there is no objectively reasonable

interpretation of the FCRA, as a matter of law, that would support Defendant’s view that it was

permissible to include a waiver of rights in its form authorizations, or to completely fail to provide

notice to consumers regarding adverse results of backgrounds checks. Safeco Ins. Co. v. Burr, 551

U.S. 47, 69 (2007). These are predominating legal questions common to all members of the

respective Settlement Classes.

       A class action in this case is superior to other available methods for the fair and efficient

adjudication of the controversy because a class resolution of the issues described above outweighs

the difficulties in management of separate and individual claims and allows access to the courts

for those who might not gain such access standing alone, particularly in light of the relatively small

amount of the actual and statutory damage claims that would be available to individuals. In

numerous cases, courts have recognized that Rule 23(b)(3) certification is particularly appropriate

for consumer claims such as those asserted here. See, e.g., Amchem, 521 U.S. at 617 (“The policy

of the very core of the class action mechanism is to overcome the problem that small recoveries

do not provide the incentive for any individual to bring a solo action prosecuting his or her rights”).




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Moreover, such a certification permits individual claimants to opt out and pursue their own actions

separately if they believe they can recover more in an individual suit.

       Thus, both predominance and superiority are satisfied.

       Solely for the purposes of settlement, Defendant does not dispute that the Classes should

be certified in accordance with Rule 23(b)(3). Accordingly, the Court should certify the Classes

for settlement purposes.

 V.      THE PROPOSED SETTLEMENT IS FAIR, REASONABLE AND ADEQUATE
                 AND SHOULD BE APPROVED BY THE COURT

       When a proposed class-wide settlement is reached, it must be submitted to the court for

approval. NEWBERG at § 11.24. Preliminary approval is the first of three steps that comprise the

approval procedure for settlement of a class action. The second step is the dissemination of notice

of the settlement to all class members. The third step is a settlement approval hearing. See

MANUAL       FOR    COMPLEX      LITIGATION      (Fourth)    §    21.63    (2004),   available   at

http://www.fjc.gov/public/pdf.nsf/lookup/mcl4.pdf/$file/mcl4.pdf. The first two steps have been

completed.

       The question presented on a motion for final approval of a proposed class action settlement

is whether the proposed settlement is fair in light of the following factors:

       (1) the complexity, expense and likely duration of the litigation; (2) the reaction of
       the class to the settlement; (3) the stage of the proceedings and the amount of
       discovery completed; (4) the risks of establishing liability; (5) the risks of
       establishing damages; (6) the risks of maintaining the class action through trial; (7)
       the ability of the defendants to withstand a greater judgment; (8) the range of
       reasonableness of the settlement fund in light of the best possible recovery; (9) the
       range of reasonableness of the settlement fund to a possible recovery in light of all
       the attendant risks of litigation…

Girsh, 521 F.2d at 157; In re Prudential, 148 F.3d at 317; In re Rite Aid Corporation Securities

Litig., 269 F.Supp.2d 603, 607 (E.D. Pa. 2003), 362 F. Supp.2d 587 (E.D. Pa. 2005) (on remand).




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        Trial courts generally are afforded broad discretion in determining whether to approve a

proposed class action settlement. See Eichenholtz v. Brennan, 52 F.3d 478, 482 (3d Cir. 1995);

Girsh v. Jepson, supra.

        Thus, this Court is now asked to ascertain whether the proposed settlement is within a

“range of reasonableness” which experienced attorneys could accept in light of the relevant risks

of the litigation. See Walsh v. Great Atlantic and Pacific Tea Co., 96 F.R.D. 632, 642 (D.N.J.),

aff’d, 726 F.2d 956 (3d Cir. 1983). In determining what falls within this range, the Court should

bear in mind “the uncertainties of law and fact in any particular case and the concomitant risks and

costs necessarily inherent in taking any litigation to completion . . . .” Newman v. Stein, 464 F.2d

689, 693 (2d Cir. 1972).

        Recognizing that a settlement represents an exercise of judgment by the negotiating parties,

courts have consistently held that the function of a judge reviewing a settlement is neither to rewrite

the settlement agreement reached by the parties nor to try the case by resolving the issues

intentionally left unresolved. Bryan v. Pittsburgh Plate Glass Co., 494 F.2d 799, 804 (3d Cir.

1974); see also Officers for Justice v. Civil Service Comm’n of San Francisco, 688 F.2d 615, 625

(9th Cir. 1982); Grunin v. Int’l House of Pancakes, 513 F.2d 114, 123-24 (8th Cir. 1975). A

settlement represents the result of a process by which opposing parties attempt to weigh and

balance the factual and legal issues that neither side chooses to risk taking to final resolution.

Courts, therefore, have given considerable weight to the views of experienced counsel as to the

merits of a settlement. See Lake v. First Nationwide Bank, 900 F. Supp. 726, 732 (E.D. Pa. 1995)

(“Significant weight should be attributed to the belief of experienced counsel that settlement is in

the best interest of the class”).




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       Here, experienced counsel firmly believes that the settlement, as structured and

contemplated by the parties, represents an educated and eminently reasonable resolution of the

dispute. An evaluation of the relevant factors demonstrates that the settlement fits well within the

range of reasonableness and should be approved.

A.     The Complexity, Expense And Likely Duration Of The Litigation

       Absent the settlement, the Court would be required to rule on the many issues likely to be

raised in the parties’ briefing on class certification and summary judgment.              While the

Representative Plaintiff believes he would prevail on all issues, there is at least some risk he would

not.

       Even if Plaintiff was able to prevail on class certification and successfully defeat an

expected motion for summary judgment, a lengthy and expensive trial would most likely ensue.

Trial preparation on both sides would be necessary and a jury trial would eventually be before the

Court. Such a trial would likely present challenges for Plaintiff. To recover on the claim for

statutory damages, Plaintiff would have to prove willfulness at trial, a high hurdle to clear. See

Reibstein v. Rite Aid Corp., 761 F.Supp.2d 241, 251–52 (E.D. Pa. 2011), citing Safeco Ins. Co. v.

Burr, 551 U.S. 47, 56–57 (2007); see also Sapp v. Experian Information Solutions, Inc., 2013 WL

2130956, at *2 (E.D. Pa. May 15, 2013) (noting potential of successful willfulness defense). It

would be unrealistic not to expect appeals from any result reached. Avoidance of this unnecessary

expenditure of time and resources clearly benefits all parties. See In re General Motors Pick-Up

Trust Fuel Tank Products Liab. Litig., 55 F.3d 768, 812 (3d Cir. 1995) (concluding that lengthy

discovery and ardent opposition from the defendant with “a plethora of pretrial motions” were

facts favoring settlement, which offers immediate benefits and avoids delay and expense).




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B.     The Reaction Of The Class To The Settlement

       As set forth above, notice has been directly mailed to members of the Settlement Classes

advising them of the terms of the settlement and their right to exclude themselves from the Classes.

The deadline for Class members to exclude themselves and to object was November 27, 2015.

Doc. 38-2 at subsections 3.4.1, 3.4.3(a); Dkt. No. 28. As of December 21, 2015, not a single

Settlement Class member has elected to be excluded from either Class. Hughes Decl., Dkt. No.

32 at ¶ 14. Two members of the B(b)(2) Class filed objections with the Court. Dkt. Nos. 30-31.

Class Counsel spoke to each objector, and each indicated an intention to withdraw his objection.

Objector Floyd Earl Busby subsequently withdrew his objection in writing. Hughes Decl., Dkt.

No. 32 at ¶ 13.3

       The fact that so few class members have stated objections or chosen to opt out of the

settlement is convincing evidence of the proposed settlement’s fairness and adequacy. See In re

Rite Aid Securities Litig., 396 F.3d 294, 305 (3d Cir. 2005) (agreeing with district court that two

objections out of 300,000 class members was a “rare phenomenon”); In re Prudential, 148 F.3d at

318 (affirming conclusion that class reaction was favorable where 19,000 policyholders out of 8

million opted out and 300 objected).

C.     The Stage Of The Proceedings And The Amount Of Discovery Completed

       The parties in this case engaged in extensive discovery, exchanging thousands of pages of

documents, and had the opportunity to review extensive deposition testimony from the related




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        The other objection, filed by Shawn S. Morales (Doc. 30), described a general
dissatisfaction with the settlement based on his view that Defendant acted under “false pretenses,”
and asked “How can u believe in something or someone that’s not truth based, in a legitimate
business. Is this what American was built on?” Id. After speaking with Class Counsel, Mr.
Morales appeared to obtain a better understanding of the settlement, and indicated he would
withdraw his objection. He had not formally done so as of the filing of this Motion.


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Giddiens v. LexisNexis case, including Plaintiff’s deposition and the testimony of a corporate

representative of Infinity regarding its policies and procedures. In addition, an all-day mediation

session that ultimately proved unsuccessful at least had the benefit of acquainting the parties’ with

each other’s positions.

         Thus, when the parties agreed to resume settlement discussions, they had sufficient

information to informatively participate in that proceeding. The settlement negotiations were

adversarial and somewhat protracted, but eventually the parties were able to reach an agreement

in principle to settle. After hashing out the details of the Settlement Agreement and the collateral

settlement documents, the parties formally sought preliminary approval of a settlement

approximately eighteen months after the case was filed.

         The final settlement occurred only after the parties were able to assess its fairness

adequately. As a result of the parties’ efforts, the litigation had reached the stage where “the parties

certainly [had] a clear view of the strengths and weaknesses of their cases.” Bonett v. Education

Debt Services, Inc., 2003 WL 21658267, at *6 (E.D. Pa. 2003), quoting In re Warner

Communications Sec. Litig., 618 F. Supp. 735, 745 (S.D.N.Y. 1985), aff’d, 798 F.2d 35 (2d Cir.

1986).

D.       The Risks Of Establishing Liability

         The risk of establishing liability is another important factor warranting final approval of

the settlement. To prevail at trial, Plaintiff would need to succeed on his claims that the

Defendant’s actions violated the FCRA. Defendant denies that it has committed any wrongful acts

or violations of law or that it has any liability to the Plaintiff or the Settlement Classes.

         While Plaintiff strongly believes that the Defendant’s activity violated the law as set forth

in his Complaint, he also recognizes the risk that the Court or a jury might not make that finding.




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With respect to the B(b)(2) Class, the most significant risk with respect to liability is that some

courts have found that even the inclusion of waiver language does not render an authorization form

to be not stand-alone in violation of 15 U.S.C. § 1681b(b)(2). See, e.g. Smith v. Waverly Partners,

LLC, 2012 WL 3645324 (W.D.N.C. Aug. 23, 2012); Schoebel v. Am. Integrity Insr. Co. of Florida,

2015 WL 3407895 (M.D. Fla. May 27, 2015). With respect to the B(b)(3) Class, Defendant

consistently asserted that because its business model involved maintaining “pools” of available

workers, many of whom were never placed regardless of the results of their background reports,

there could be no determination of class-wide liability on the FCRA section 1681b(b)(3) claims.

       Although Plaintiff was prepared to take on these burdens and make substantial arguments

opposing Defendant’s positions as set forth above, the risks he faced were not insignificant.

E.     The Risks Of Establishing Damages

       Even if Plaintiff were to overcome the liability obstacles, there are also risks in obtaining

statutory damages, which Plaintiff has avoided by virtue of the proposed settlement.            The

determination of statutory damages, like the determination of liability, is a complicated and

uncertain process, typically involving conflicting opinions. In this case, Plaintiff and the members

of the Settlement Classes were seeking statutory damages under the FCRA in the range of $100 to

$1,000 per class member, as well as punitive damages. 15 U.S.C. § 1681n.

       The value of the settlement to Settlement Class Members is $850,000.00 in total class

recovery. Each member of the B(b)(2) Settlement Class that does not opt out is guaranteed $110,

without the need to submit a claim form and without any proof of actual injury. Furthermore, each

class member who is also a member of the B(b)(3) Class (all of whom are also members of the

B(b)(2) Class) will also receive a guaranteed payment of $1,000, the statutory damages maximum

under the FCRA, without the need to submit a claim form and without any proof of actual injury.




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       Furthermore, the settlement as a whole will result in substantial practice changes that will

benefit all Settlement Class members, as well as others in the future. Also, even if Infinity were

to be found liable for willful conduct, and Plaintiff and the Classes were awarded statutory

damages, that award amount is by no means certain, given the statutory factors that have to be

taken into account in making such an award – frequency and persistence of noncompliance with

the statute, nature of the noncompliance, and extent to which noncompliance was willful or

negligent. 15 U.S.C. § 1681n(a) and § 1681o(a).

       Thus, this settlement avoids the litigation risk to the Settlement Classes and secures

tangible and useful relief that may not be obtainable after trial. The risk of no damages, or a lower

damages award at trial, as well as limitations on the Court’s ability to award injunctive relief under

the FCRA, supports final approval of the Settlement Agreement.

F.     The Risks Of Maintaining The Class Action Through Trial

       The settlement here comes before Plaintiff has moved for class certification. Defendant

would be expected to vigorously oppose certification, and even if class certification were granted,

it would not be surprising if Defendant pursued an interlocutory appeal under Rule 23(f).

       Alternatively, even if the case were certified, it is likely that Defendant would seek

decertification, either before trial, during trial or on appeal. See Saunders v. Berks Credit and

Collections, 2002 WL 1497374, at *12 (E.D. Pa. July 11, 2002). While the success of such

attempts is uncertain at best, the settlement allows Plaintiff to avoid the delay and expense that

would be associated with such proceedings.

G.     The Ability Of The Defendant To Withstand A Greater Judgment

       The ability of a defendant to withstand a greater judgment is a particularly relevant

consideration “where a settlement in a given case is less than would ordinarily be awarded but the




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defendant's financial circumstances do not permit a greater settlement.” Reibstein, 761 F. Supp. 2d

at 254. Here, this factor is neutral.

H.     The Reasonableness Of The Settlement In Light Of The Best Possible Recovery

       In light of the questions of fact and law present in this litigation, the value of the proposed

settlement substantially outweighs the mere possibility of future relief. The expense of a trial and

the use of judicial resources and the resources of the parties would have been substantial.

Moreover, in light of the contested liability, it would not be unusual that any judgment entered

would have been the subject of post-trial motions and appeals, further prolonging the litigation and

reducing the value of any recovery. Thus, a settlement is advantageous to all concerned. An

appeal could seriously and adversely affect the scope of an ultimate recovery, if not the recovery

itself. See Backman v. Polaroid Corp., 910 F.2d 10 (1st Cir. 1990) (class won a jury verdict and

a motion for judgment N.O.V. was denied, but on appeal the judgment was reversed and the case

dismissed); Berkey Photo, Inc. v. Eastman Kodak Co., 603 F.2d 263 (2d Cir. 1979) (reversal of

multimillion dollar judgment obtained after protracted trial); Trans World Airlines, Inc. v. Hughes,

312 F. Supp. 478, 485 (S.D.N.Y. 1970), modified, 449 F.2d 51 (2d Cir. 1971), rev’d 409 U.S. 363,

366 (1973) ($145 million judgment overturned after years of litigation and appeals).

       While Plaintiff is confident of his ability to prevail at trial, no final adjudication has been

made as to the validity of his claims. Plaintiff also recognizes that Defendant has continued to

deny all liability and allegations of wrongdoing and that Plaintiff’s claims would be threatened

with dismissal in connection with dispositive motions which would be expected to be filed and

briefed. In In re Greenwich Pharmaceutical Securities Litig., 1995 WL 251293 (E.D. Pa. April

26, 1995), the court held in finding a $4.3 million settlement within the range of reasonableness

where plaintiff’s estimate of damages was $100 million:




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        [P]laintiffs’ most optimal estimate must be tempered by Defendants’ repeated and
        vigorous claim of no damages. When the probability of success at trial is factored
        into the equation, the settlement is obviously “within the range of reasonableness.”

Id. at *5. See also, In re Ikon Office Solutions, Inc., 194 F.R.D. 166, 183-84 (E.D. Pa. 2000)

(approval of settlement that provided 5.2% of best possible recovery).

        Through the proposed settlement, Plaintiff has obtained a very reasonable benefit for the

Settlement Classes under the FCRA. Moreover, through the practice changes that the lawsuit

triggered, Plaintiff has achieved what essentially acts as a settlement injunction requiring Infinity

to improve its practices in the future. This settlement allows Plaintiff to avoid the risks described

above and ensures an immediate benefit to the Settlement Classes. The monetary compensation

available under the Settlement Agreement is entirely in line with comparable settlements under the

FCRA.

        Plaintiff believes the proposed settlement is well within the range of reasonableness and

should be approved.

I.      The Range Of Reasonableness Of The Settlement To A Possible Recovery In Light
        Of All The Attendant Risks Of Litigation

        Essentially, this factor is an amalgam of the analysis described above. When the risks of

liability and damages are considered in light of the total potential recovery, this settlement is an

excellent result for the Settlement Class.

              VI.     INDIVIDUAL SETTLEMENT AND SERVICE AWARD

        Class Counsel also seeks this Court’s approval of a five thousand dollar ($5,000.00)

individual settlement and service award for John Giddiens, for his willingness to undertake the

risks of this litigation and shoulder the burden of such litigation. In this case, there would be no

benefit to Class members if the Representative Plaintiff had not stepped forward. Mr. Giddiens

devoted significant time and energy to the litigation, including reviewing documents, assisting



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with compiling responses to written discovery requests and consulting with counsel as necessary.

He has totally fulfilled his obligations as a class representative. Class Counsel therefore request

that the Mr. Giddiens be approved for the award described above and as set forth in the Settlement

Agreement. The award represents actual and statutory damages under the FCRA, as well as

recognition of the benefits and value of the settlement that the Representative Plaintiff achieved

for the Settlement Classes. Class members were notified that Class Counsel would request an

award for the Representative Plaintiff in this amount and no Class member objected to that

proposed award.

       This award is well within the range of awards made in similar cases. See Berry, 2014 WL

4403524, at *16 (awarding $5,000 to each of several class representatives); Giddiens v. LexisNexis

Risk Solutions, Inc., C.A. No. 12-2624 (E.D. Pa. Jan. 20, 2015) (Doc. 55, ¶ I) (awarding class

representative $10,000); Robinson v. General Info. Servs., Inc., No. 2:11-cv-07782-PBT (E.D. Pa.

Nov. 4, 2014) at Doc. 55 (final approval order awarding $10,000 individual settlement to class

representative); Sapp, 2013 WL 2130956, at * 3 (awarding $15,000 to class representative in

FCRA settlement); McGee, 2009 WL 539893, at *18 ($3,500); Barel v. Bank of America, 255

F.R.D. at 402-403 ($10,000); Perry v. Fleet Boston Financial Corp., 229 F.R.D. 105, 118 (E.D.

Pa. 2005) (awarding $5,000, and citing cases);.       Accordingly, the award requested for the

Representative Plaintiff should be approved.

                                     VII.   CONCLUSION

       As concluded by Judge Brody in approving a settlement of FCRA claims in the Chakejian

case, “this settlement is fair, adequate, and reasonable. Such a finding is further bolstered by

previous court decisions approving similar settlements whose terms were somewhat less favorable

than these.” Chakejian, 275 F.R.D. at 216 (citations omitted). See also Sapp, 2013 WL 2130956,




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at *2 (“There is no question but that the settlement was a result of hard-fought, arm’s-length

negotiation…. In sum, the settlement is unquestionably fair, adequate and reasonable”).

       The Representative Plaintiff requests final approval of the proposed settlement herein for

the same reasons.

                                            Respectfully submitted,

                                            FRANCIS & MAILMAN, P.C.
Dated: January 4, 2016               BY:    /s/ James A. Francis
                                            JAMES A. FRANCIS
                                            DAVID A. SEARLES
                                            LAUREN KW BRENNAN
                                            100 South Broad Street, Suite 1902
                                            Philadelphia, PA 19110
                                            (215) 735-8600

                                            Attorneys for Plaintiff and the Class




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                            CERTIFICATE OF SERVICE

       I hereby certify that, on this date, I caused a true and correct copy of the foregoing

to be served via the Court’s ECF Notification system upon all counsel of record.



Dated: January 4, 2016                                /s/ James A. Francis
                                                     JAMES A. FRANCIS
